

Matter of Sullivan v New York State Div. of Human Rights (2025 NY Slip Op 01056)





Matter of Sullivan v New York State Div. of Human Rights


2025 NY Slip Op 01056


Decided on February 20, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 20, 2025

Before: Webber, J.P., Singh, Moulton, Pitt-Burke, Rosado, JJ. 


Index No. 153120/24|Appeal No. 3735|Case No. 2024-03304|

[*1]In the Matter of Catherine M. Sullivan, Petitioner,
vNew York State Division of Human Rights, et al., Respondents.


Sullivan &amp; Klein, LLP, New York (Robert M. Sullivan of counsel), for petitioner.
Ogletree, Deakins, Nash, Smoak &amp; Stewart, L.L.C., New York (Simone R.D. Francis of counsel), for respondents.



Final order of respondent New York State Division of Human Rights (DHR), dated March 15, 2024, which adopted the recommended order of the Administrative Law Judge, dismissing petitioner's disability and age discrimination complaint, unanimously confirmed, the petition denied, and the proceeding (transferred to this Court by order of Supreme Court, New York County [Paul A. Goetz, J.], entered May 20, 2024) dismissed, without costs.
DHR's determination that Liberty Mutual did not engage in unlawful discrimination on the basis of age or disability is supported by substantial evidence (Executive Law § 298; Matter of White v New York State Div. of Human Rights, 160 AD3d 448 [1st Dept 2018]). The record provides ample evidence to support Liberty Mutual's proffered reason that petitioner's termination was due to work performance issues (see Bauman v Mount Sinai Hosp., 181 AD3d 515 [1st Dept 2020]; see also Sicola v Cushman &amp; Wakefield, Inc., 210 AD3d 449, 449-450 [1st Dept 2022], lv denied 39 NY3d 916 [2023]). Petitioner failed to show that Liberty Mutual's legitimate reasons for terminating her employment were a pretext for discrimination (see Arifi v Central Moving &amp; Stor. Co., Inc., 147 AD3d 551 [1st Dept 2017]). This Court may not substitute its judgment for DHR's, even if a contrary decision might have been reasonable (Matter of White, 160 AD3d at 448).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 20, 2025








